Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6051 Page 1 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6052 Page 2 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6053 Page 3 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6054 Page 4 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6055 Page 5 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6056 Page 6 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6057 Page 7 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6058 Page 8 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6059 Page 9 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6060 Page 10 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6061 Page 11 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6062 Page 12 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6063 Page 13 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6064 Page 14 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6065 Page 15 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6066 Page 16 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6067 Page 17 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6068 Page 18 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6069 Page 19 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6070 Page 20 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6071 Page 21 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6072 Page 22 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6073 Page 23 of 24
Case 3:18-cr-04683-GPC Document 397-1 Filed 04/29/22 PageID.6074 Page 24 of 24
